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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                     www.flmb.uscourts.gov

In re:
CFRA HOLDINGS, LLC                                           Case No. 8:20-bk-03608-CPM
                                                             Chapter 11

                                                             Jointly Administered with:
CFRA, LLC
CFRA TRI-CITIES, LLC                                         Case No. 8:20-bk-03609-CPM
                                                             Case No. 8:20-bk-03610-CPM

                                  Debtors.
                                                       /

                EMERGENCY MOTION FOR ENTRY OF INTERIM
         ORDERS (A) AUTHORIZING DEBTORS TO OBTAIN POST-PETITION
     FINANCING AND (B) AUTHORIZING DEBTORS TO USE CASH COLLATERAL

                                 [Expedited Consideration Requested]

             The above-captioned debtors and debtors-in-possession (the “Debtors”) file this motion

(this “Motion”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), for entry of

interim orders, substantially in the forms attached hereto as Exhibit A (the “Interim DIP

Order”) and Exhibit B (the “Interim Cash Collateral Order” and, collectively, the “Interim

Orders”), pursuant to sections 105, 361, 363, 364, and 507(b) of title 11 of the United States

Code (the “Bankruptcy Code”), Rules 2002, 4001(c) and 9014 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2081-1(g)(1) and (2) of the Local

Rules of the United States Bankruptcy Court for the Middle District of Florida (the “Local

Rules”), (A) authorizing the Debtors to obtain post-petition financing (the “DIP Financing”)

from Raymond James Bank, N.A. (“RJB”) and Valley National Bank (“VNB” and, collectively

with RJB, the “Lenders”) and (B) authorizing the continued use of the Lenders’ “cash




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collateral” (as defined in section 363(a) of the Bankruptcy Code, and hereinafter referred to as

“Cash Collateral”). In support of the Motion, the Debtors state as follows:

                                                 JURISDICTION

             1.         This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and

1334.

             2.         Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409. This

Motion is a core proceeding pursuant to 28 U.S.C. § 157(b).

             3.         The statutory predicates for the relief requested herein are sections 361, 362, 363,

364(d) and 507(b) of the Bankruptcy Code, Bankruptcy Rules 2002, 4001(c) and 9014, and

Local Rule 2081-1(g)(1) and (2).

                                                 BACKGROUND

             4.         On May 6, 2020 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under Chapter 11 of the Bankruptcy Code, commencing the above-captioned jointly

administered chapter 11 cases (the “Chapter 11 Cases”).

             5.         Pursuant to sections 1107 and 1108 of the Bankruptcy Code, the Debtors continue

to operate their business and manage their financial affairs as Debtors-in-possession. No trustee,

examiner or committee has been appointed in the Chapter 11 Cases.

            6.          The Debtors are franchisees of IHOP restaurants, operating forty nine (49) IHOP

restaurants in South Carolina, North Carolina, Tennessee and Virginia. All of the Debtors’

restaurants have been shuttered as a result of the various “safer at home” restrictions in

connection with the ongoing Covid-19 pandemic. These closures resulted in an immediate

liquidity crisis, leaving the Debtors unable to fund operations and debt service in the ordinary

course of business.



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            7.          On April 22, 2020, each of the Debtors executed an Assignment for the Benefit of

Creditors pursuant to Chapter 727, Florida Statutes, designated J. Tim Pruban (“Mr. Pruban”)

of Focus Management Group USA Inc. (“Focus”) as assignee of the Debtors’ assets and

empowering him to liquidate such assets and take such other actions as may be warranted to

maximize value for the Debtors’ creditors and stakeholders.

            8.          Subsequently, Mr. Pruban and the Debtors determined that it was in the best

interest of the Debtors and their estates to seek relief under chapter 11 of the Bankruptcy Code, in

order to gain the “breathing spell” afforded by the automatic stay of section 362 of the

Bankruptcy Code and to pursue a sale of the Debtors’ assets free and clear of liens, claims,

encumbrances and other interests pursuant to section 363(b) of the Bankruptcy Code. In order to

effectively and efficiently transition into chapter 11, the Debtors and Mr. Pruban, in his capacity

as Assignee of the Debtors, appointed Mr. Pruban as Chief Restructuring Officer of each of the

Debtors, subject to the approval of the Bankruptcy Court.

                                      PRE-PETITION SECURED DEBT

            9.          Prior to the Petition Date, Lenders, as lenders, extended certain loans to CFRA,

LLC and CFRA Tri-Cities, LLC (the “Operating Company Debtors”), as borrowers, which

loans are guaranteed by CFRA Holdings, LLC (“CFRA Holdings”) and are secured by property

of Operating Company Debtors as set forth below.                These loans are evidenced by various

agreements and documents that are collectively referred to as the “Bank Credit Agreements.”

             10.        Pursuant to the terms of the Bank Credit Agreements, the Lenders made available

to the Operating Company Debtors a revolving line of credit in the principal amount of up to

Twenty-Six Million ($26,000,000) (the “Prior Loan”).




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             11.        The Prior Loan is comprised of (i) a Revolving Line of Credit Promissory Note

dated September 8, 2016 (the “VNB Note”) made by the Operating Company Debtors and held

by VNB in the principal amount of $11,000,000; and (ii) a Revolving Line of Credit Promissory

Note dated September 8, 2016 (the “RJB Note,” and collectively with the VNB Note, the

“Prepetition Notes”) made by the Operating Company Debtors and held by RJB in the principal

amount of $15,000,000. CFRA Holdings guaranteed payment and performance of Operating

Company Debtors under the Bank Credit Agreements, including the Prepetition Notes, pursuant

to a Guaranty of Payment and Performance dated September 8, 2016 (the “Guaranty”).

             12.        As of the Petition Date, the Debtors were jointly and severally indebted (i) to

VNB in the amount of at least $8,269,315.85, exclusive of legal fees and costs due under the

Bank Credit Agreements prior to the Petition Date and exclusive of amounts which accrue under

the Bank Credit Agreements after the Petition Date; (ii) to RJB in the amount of at least

$11,276,339.75, exclusive of legal fees and costs due under the Bank Credit Agreements prior to

the Petition Date and exclusive of amounts which accrue under the Bank Credit Agreements after

the Petition Date; (together, the “Prepetition Indebtedness”).

             13.        The Operating Company Debtors’ payment of the Prepetition Indebtedness and

performance under the Bank Credit Agreements, including the Prepetition Notes, are secured by

the property identified in that certain Security Agreement dated September 9, 2016 (the

“Prepetition Security Agreement”), wherein Operating Company Debtors granted Lenders

valid, binding, perfected security interests and liens (the “Prepetition Liens”) in certain of their

property (the “Prepetition Collateral”).

             14.        The Prepetition Indebtedness constitutes the legal, valid and binding obligations of

the Debtors, enforceable against them in accordance with the terms of the Bank Credit



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Agreements and/or the Guaranty (other than in respect of the stay of enforcement pursuant to 11

U.S.C. § 362), and no portion of the Prepetition Indebtedness is subject to avoidance, re-

characterization, reduction, setoff, offset, counterclaim, cross-claim, recoupment, defenses,

disallowance, impairment, recovery, subordination or any challenges pursuant to the Bankruptcy

Code or applicable non-bankruptcy law or regulation by any person or entity. The Debtors are

jointly and severally liable to the Lenders in the amount of the Prepetition Indebtedness.

             15.        The Prepetition Liens constitute legal, valid, binding, enforceable (other than in

respect of the stay of enforcement pursuant to 11 U.S.C. § 362) and perfected security interests

and liens on the Prepetition Collateral, were granted to, or for the benefit of, the Lenders, as

applicable, for fair consideration and reasonably equivalent value, and are not subject to defense,

counterclaim, re-characterization, subordination or avoidance pursuant to the Bankruptcy Code

or applicable non-bankruptcy law or regulation by any person or entity.

               DIP FINANCING AND USE OF CASH COLLATERAL IS NECESSARY

             16.        The Debtors’ need to obtain credit is critical in order to fund the administration of

the Chapter 11 Cases. While the Debtors’ restaurants are shuttered and the Debtors currently

have no employees, the Debtors nonetheless must continue to fund certain operating expenses to

preserve the value of their assets, including, without limitation, the costs of insurance, certain

utility costs and costs attendant to operating in chapter 11, including professional fees and

quarterly fees to the United States Trustee.

             17.        The Debtors do not have sufficient sources of working capital and financing

without the DIP Financing and authorized use of Cash Collateral. The Lenders are willing to

provide necessary and adequate liquidity on the terms provided in the DIP Loan Documents and

the Interim Orders.



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             18.        The Debtors reasonably believe that the DIP Financing and authority to use Cash

Collateral will be adequate to pay all administrative expenses due or accruing through the period

covered by the Budget. The Debtors’ use of Cash Collateral alone is insufficient to meet the

Debtors’ postpetition liquidity needs, especially considering the added costs necessarily resulting

from operating while in chapter 11. Without access to the DIP Financing and use of Cash

Collateral, the Debtors would suffer immediate and irreparable harm and the Debtors’

restructuring objectives would be jeopardized to the significant detriment of the Debtors’ estates,

creditors and other parties-in-interest.

             19.        The Debtors, in their reasonable business judgment, respectfully suggest that there

is no possible credit available on more favorable terms than that provided by the DIP Financing.

The Lenders, who hold first-priority secured liens on substantially all of the Debtors’ assets,

would not consent to being primed by a third-party loan, and will only agree to fund the DIP

Financing so that the Debtors can achieve their restructuring objectives which will benefit the

Lenders, among others.

             20.        Under the Debtors’ current operating status and in consideration of the Covid-19

pandemic, the Debtors are unable to obtain unsecured financing allowable under section

503(b)(1) of the Bankruptcy Code as an administrative expense. The Debtors would also be

unsuccessful obtaining credit (a) having priority over that of administrative expenses of the kind

specified in sections 503(b), 507(a) and 507(b) of the Bankruptcy Code; (b) secured by a lien on

property of the Debtors and their estates that is not otherwise subject to a lien; or (c) secured

solely by a junior lien on property of the Debtors and their estates that is subject to the liens

securing the Lenders’ Prepetition Indebtedness.




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                                             RELIEF REQUESTED

             21.        By this Motion, the Debtors seek the entry of the Interim DIP Order, authorizing

the Debtors to obtain post-petition secured financing from the Lenders in accordance with the

budget attached as Exhibit B to the Interim DIP Order (the “Budget”) and pursuant to the terms

of the Interim DIP Order.

             22.        The Debtors further seek the entry of the Interim Cash Collateral Order,

authorizing the Debtors to use the Lenders’ Cash Collateral under the terms described in the

Interim Cash Collateral Order and in accordance with the Budget.

             23.        The Debtors further request that the Court schedule a final hearing with respect to

the relief sought herein.

                               Compliance with Local Rule 2081-1(g)(1) and (2)

             24.        Local Rule 2081-1(g)(1) provides that a motion seeking to use cash collateral

provide certain enumerated information.

             25.        Local Rule 2081-1(g)(1)(A) provides a list of Required Terms that must be

included in all cash collateral motions.              In compliance therewith, the Debtors provide the

following disclosures:

Local Rule                   Disclosure Requirement                    Terms of Interim Cash Collateral
                                                                       Order
2081-1(g)(1)(A)(i)           Budget                                    A copy of the budget is attached as
                                                                       Exhibit A to the Interim Cash Collateral
                                                                       Order.
2081-1(g)(1)(A)(ii)          Amounts and types of cash collateral on Known cash collateral as of the Petition
                             the petition date                         Date is limited to the Debtors’ cash-on-
                                                                       hand (de minimis) and potential
                                                                       accounts receivable.
2081-1(g)(1)(A)(iii)         Name of each secured creditor having Raymond James Bank, N.A. is owed
                             an interest in cash collateral, basis for $11,276,339.75 and Valley National
                             security interest, amount owed            Bank is owed $8,269,315.85.
                                                                       Liens arising from prepetition
                                                                       security agreements and UCC
                                                                       financing statements.


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2081-1(g)(1)(A)(iv)          Proposed adequate protection             Replacement liens and superpriority
                                                                      administrative expense claims to the
                                                                      extent of diminution of value. Interim
                                                                      Cash Collateral Order, ¶¶19-20.
2081-1(g)(1)(A)(v)           Reasonable reporting requirements        On the Tuesday of each week, the
                                                                      Operating Company Debtors shall
                                                                      provide Lenders with an accounting
                                                                      of all income received or collected
                                                                      and/or paid during the preceding
                                                                      week by the Operating Company
                                                                      Debtors. Together with such
                                                                      accounting, the Operating Company
                                                                      Debtors shall provide written notice
                                                                      to Lenders of all Approved Budgeted
                                                                      Expenses      (and     any     other
                                                                      expenditures) of the Operating
                                                                      Company Debtors during the
                                                                      preceding week.       Interim Cash
                                                                      Collateral Order, ¶7.
2081-1(g)(1)(A)(vi)          Proposed consequences of default         Lenders may terminate their consent for
                                                                      the use of cash collateral for “cause,”
                                                                      defined by a finding of the Court, after
                                                                      five (5) business days’ written notice to
                                                                      the Operating Company Debtors, that at
                                                                      any time the Operating Company
                                                                      Debtors have violated the material
                                                                      duties imposed under the Interim Cash
                                                                      Collateral Order. Inter Cash Collateral
                                                                      Order, ¶17. In addition, the Interim DIP
                                                                      Order provides that the Lenders may
                                                                      terminate the Debtors’ ability to draw
                                                                      upon the DIP Loan upon an Event of
                                                                      Default or otherwise at any time in the
                                                                      Lenders’ sole and absolute discretion
                                                                      for any reason, or no reason. Interim
                                                                      DIP Order, ¶15.


             26.        Further, Local Rule 2081-1(g)(1)(B) provides a list of Extraordinary Terms that

will not typically be approved absent compelling circumstances. In accordance therewith, the

Debtors provide the following disclosures:

Local Rule                    Disclosure Requirement              Terms of Interim Cash Collateral
                                                                  Order
2081-1(g)(1)(B)(i)            Cross-Collateralization provisions  n/a
2081-1(g)(1)(B)(ii)           Waiver of avoidance actions against n/a


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                           secured creditor
2081-1(g)(1)(B)(iii)       Section 506(c) waiver                   Both the Interim Cash Collateral Order
                                                                   and the Interim DIP Order include a
                                                                   waiver of potential claims and charges
                                                                   under section 506(c) of the Bankruptcy
                                                                   Code. Inter Cash Collateral Order, ¶21;
                                                                   Inter DIP Order, ¶22.

2081-1(g)(1)(B)(iv)   Factual stipulations or findings that Any official committee of unsecured
                      bind the estate or parties-in-interest    creditors shall have until thirty (30) days
                                                                from        the       date        of      its
                                                                formation/appointment to contest any
                                                                provision of the Interim Cash Collateral
                                                                Order, including with respect to the
                                                                Debtors’ stipulation in paragraph 11 of
                                                                the Interim Cash Collateral Order as to
                                                                the Lenders’ pre-petition claims. Any
                                                                other creditor must file and serve an
                                                                objection no later than seven (7) days
                                                                prior to the Final Cash Collateral
                                                                Hearing date. Interim Cash Collateral
                                                                Order, ¶14.
2081-1(g)(1)(B)(v)    Relief from stay provisions               The Interim DIP Order provides that the
                                                                automatic stay is modified to the extent
                                                                necessary to authorize the Debtors to
                                                                pay, and Lenders to retain and apply,
                                                                payments made in accordance with the
                                                                terms of this Interim Order and
                                                                consistent with the DIP Financing
                                                                Agreements          including,       without
                                                                limitation, payments of accrued interest
                                                                and payments of principal amounts
                                                                outstanding under the DIP Loan. The
                                                                Interim DIP Order also modifies the
                                                                automatic stay to permit the Lenders to
                                                                exercise their rights as to the DIP
                                                                Collateral upon a Termination Event.
                                                                Interim DIP Order, ¶21.
2081-1(g)(1)(B)(vi)   Liens on avoidance action recoveries      n/a
2081-1(g)(1)(B)(vii) Validation of security interest within a The provisions of the Order become
                      limited period of time after binding upon any appointed committee
                      appointment of a committee                thirty (30) days after such appointment.
                                                                Interim Cash Collateral Order, ¶14.
2081-1(g)(1)(B)(viii) Subordination       of     administrative The Interim Cash Collateral Order and
                      priority claims                           Interim DIP Order provide superpriority
                                                                administrative expense claims as is
                                                                customary       for     postpetition    DIP
                                                                financing and cash collateral usage.
                                                                Interim Cash Collateral Order, ¶19;
                                                                Interim DIP Order, ¶8.


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             27.        Local Rule 2081-1(g)(2) also provides a list of provisions that must be included in

any motion seeking approval of postpetition financing. To the extent not already described

above, the Debtors provide the following disclosures pursuant to Local Rule 2081-1(g)(2):

Local Rule                     Disclosure Requirement                Terms of Interim DIP Order
2081-1(g)(2)(A)                Identity of lender and relationship   Raymond James Bank, N.A. and Valley
                                                                     National Bank are the Debtors’ pre-
                                                                     petition secured lenders and proposed
                                                                     DIP lenders.
2081-1(g)(2)(B)                Copy of DIP loan agreement            The DIP loan agreement is attached as
                                                                     Exhibit A to the Interim DIP Order.
2081-1(g)(2)(B)(i)             Collateral for postpetition financing Substantially all assets of the Debtors.
                               and whether lender seeks to prime Lenders seek to prime all existing liens,
                               existing liens                        other than purchase money security
                                                                     interests.
2081-1(g)(2)(B)(ii)            Amount of proposed loan               $1,000,000
2081-1(g)(2)(B)(iii)           Applicable interest rate and other LIBOR plus 8.0%
                               charges
2081-1(g)(2)(B)(iv)            Payment terms and duration            Repay in full upon maturity, defined as
                                                                     the earlier of (i) final payment in full of
                                                                     all obligations hereunder and the
                                                                     corresponding termination of the
                                                                     Revolving Line of Credit established
                                                                     hereunder pursuant to a closing of a sale
                                                                     of all or substantially all of Debtors'
                                                                     asset pursuant to Court Order under 11
                                                                     U.S.C. § 363; (ii) a Termination Event
                                                                     as defined in the DIP Loan Agreement,
                                                                     at which time all outstanding sums due
                                                                     hereunder shall be immediately due and
                                                                     payable in full; or (iii) August 31, 2020.

2081-1(g)(2)(C)                Amount of credit sought on interim $88,000.00
                               basis
2081-1(g)(2)(D)                Efforts made to obtain alternative Due to the Debtors’ shuttered status in
                               financing                              connection with Covid-19 and the
                                                                      prepetition lenders unwillingness to
                                                                      permit a third-party priming lien, the
                                                                      Debtors concluded there was no
                                                                      possibility for postpetition financing
                                                                      other than from the Lenders.
2081-1(g)(2)(E)                Ability to repay the DIP loan          The Debtors reasonably believe they
                                                                      will be able to repay the DIP loan from
                                                                      a sale of substantially all of their assets.
2081-1(g)(2)(F)                Inclusion of any terms listed in Local All such terms are described above, to
                               Rule 2081-1(g)(1)(B)                   the extent applicable.

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                                                  Basis for Relief

             28.        An emergency need exists for the Debtors use of cash collateral and to obtain

post-petition financing in order to maintain their business operations. As set forth in the Budget

and described in the Interim Orders, the Debtors lack sufficient cash collateral to cover the

Debtors’ expenses in the interim period and, therefore, the Debtors request authority to obtain

post-petition financing from the Lenders to fund their operations while in Chapter 11.

             29.        Given the emergency need more fully described herein, the Debtors request an

emergency hearing on the requested relief. If this Motion is not considered on an expedited basis,

there will be a direct and immediate material and adverse impact on the continuing operation of

the Debtors’ business and on the value of their assets. In order to achieve their restructuring

objectives, the Debtors must use the Cash Collateral and DIP Financing pursuant to the terms of

the Budget and the Interim Orders. The Debtors’ inability to pay their budgeted expenses will

result in irreparable injury to the Debtors and their property. Further, without post-petition

financing, the Debtors will be unable to pay utilities and insurance premiums, and would likely

require an immediate conversion of these cases to cases under chapter 7 of the Bankruptcy Code.

             30.        If allowed to use Cash Collateral and obtain the DIP Financing, the Debtors

believe that they can preserve their assets during these Chapter 11 Cases as they seek market and

sell their assets for the benefit of their creditors and other parties in interest.

             31.        The terms for the post-petition financing and the use of the cash collateral, as set

forth fully in the Interim Orders, are fair and reasonable, and will preserve the value of the

Lenders’ collateral and provide the Lenders with adequate protection for the post-petition

advances and ensure the Debtors’ a reasonable opportunity to reorganize.




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      A.           Post-Petition Financing

             32.        The post-petition financing will be governed by a new post-petition loan

agreement and related loan documents and the Interim DIP Order (collectively the “DIP Loan

Documents”). As set forth in the Interim DIP Order, the post-petition financing shall be secured

by a first and paramount security interest and lien in all property of the Debtors and a super-

priority administrative claim. The Debtors’ use of the proceeds of DIP Financing is limited by

the terms of the Interim DIP Order. The granting of such priority and liens is appropriate

pursuant to Sections 364(c), 364(d), and 507(b) of the Bankruptcy Code.

             33.        Pursuant to 11 U.S.C. § 364(c), if a debtor is unable to obtain unsecured credit

allowable as an administrative expense under § 503(b)(1) of the Bankruptcy Code, then the

Court, after notice and a hearing, may authorize the debtor to obtain credit or incur debt: (a) with

priority over any or all administrative expenses of the kind specified in section 503(b) or 507(b)

of this title; (b) secured by a lien on property of the estate that is not otherwise subject to a lien;

or (c) secured by a junior lien on property of the estate that is subject to a lien. 11 U.S.C. §

364(c). In re Levitt & Sons, LLC, 384 B.R. 630, 640 (Bankr. S.D.Fla. 2008).

             34.        In the event the debtor is unable to obtain credit under the provisions of § 364(c)

of the Bankruptcy Code, the debtor may obtain credit secured by a senior or equal lien on

property of the estate that is already subject to a lien, commonly called a “priming lien.” Id. at

640-41, 11 U.S.C. § 364(d), In re Devlin, 185 B.R. 376, 377 (Bankr. M.D.Fla. 1995). Therefore,

under 11 U.S.C. § 364(d)(1), the debtor in possession may “prime” an existing lien,

notwithstanding covenants in the existing loan agreement or nonbankruptcy law that would

protect the position of the existing lender. See In re Mosello, 195 B.R. 277 (Bankr. S.D.N.Y.

1996).



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             35.        Section 364(d)(2) of the Bankruptcy Code provides that the debtor in possession

“has the burden of proof on the issue of adequate protection.” 11 U.S.C. § 364(d)(2). The

“important question” in determining the adequacy of protection required under section

364(d)(1)(B) of the Bankruptcy Code is “whether the interest of the secured creditor whose lien

is being primed ‘is being unjustifiably jeopardized.’” Mosello, 195 B.R. at 289 (quoting In re

Plabell Rubber Products, Inc., 137 B.R. 897, 899 (Bankr. N.D. Ohio 1992).

             36.        In these cases, the Debtors are not able to obtain credit that is not secured by liens

equal or senior to the Lenders’ lien position. As noted above, the Debtors’ obligations to the

Lenders under the DIP Loan Documents are secured by all of the Debtors’ assets, the granting of

a superpriority administrative expense claim and replacement liens to the extent of diminution of

value of the Lenders’ prepetition secured position. Under these circumstances and given the

Debtors’ current financial status, the Debtors believe that the Lenders (or any other lender) will

not provide post-petition financing to the Debtors other than on a senior secured basis pursuant

to Section 364(d) of the Bankruptcy Code.

             37.        Accordingly, the terms of the DIP Financing are fair and reasonable and the

product of an arm’s length negotiation between the Debtors and the Lenders. The Debtors

respectfully suggest that the Court should defer to the Debtors’ business judgment that the terms

of the post-petition financing are reasonable under the circumstances. See Group of Institutional

Investors v. Chicago Milwaukee St. Paul & Pacific Railroad, 318 U.S. 523, 550 (1943); In re

Lifeguard Indus., Inc., 37 B.R. 3, 17 (Bankr. S.D. Ohio 1983) (“More exacting scrutiny would

slow the administration of the debtor’s estate and increase its costs, and interfere with the

Bankruptcy Code’s provision for private control of administration of the estate …”); Richmond

Leasing Co. v. Capital Bank N.A., 762 F.2d 1303, 1311 (5th Cir. 1985).



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      B.           Use of Cash Collateral

             38.        Section 363 of the Bankruptcy Code governs a debtor’s ability to use, sell, or lease

property of the estate. Section 363(c)(2) of the Bankruptcy Code restricts a debtor’s ability to use

the cash collateral. Section 363(a) of the Bankruptcy Code defines cash collateral as, inter alia,

“the proceeds, products, profits, offspring, rents or profits of property.” 11 U.S.C. § 363(a). In

these cases, the Lenders’ cash collateral consists of monies collected by the Debtors on account

of collections from the Debtor’s pre-petition receivables.

             39.        The Debtors seek authorization to use Cash Collateral in the amounts set forth on

the Budget and pursuant to the Interim Cash Collateral Order. As set forth more fully in the

Interim Cash Collateral Order, the Debtors may only use cash collateral and the proceeds of the

post-petition advances to fund payment of expenses as and when budgeted (subject to timing

variances and amount variances as set forth in the Interim Cash Collateral Order).

      C.           Adequate Protection

             40.        Adequate protection can be provided through a number of different methods.

Section 361 of the Bankruptcy Code provides that adequate protection may be provided by (1)

“providing to [an] entity an additional or replacement lien to the extent that such ... use . . .

results in a decrease in the value of [the] entity’s interest in such property” or (2) “granting such

other relief . . . as will result in the realization by [an] entity of the indubitable equivalent of [the]

entity’s interest in such property.” 11 U.S.C. §§ 361(1), (2), (3).

             41.        The Debtors maintain, and the Lenders agree, that the Lenders’ interests both on a

pre- and post-petition basis are adequately protected under the terms of the Interim Orders.




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             42.        It is in the Lenders’ interests that the Debtors be allowed to use the cash collateral

and obtain DIP Financing. The Lender’s collateral will be substantially impaired if the Debtors

halt operations and cannot fund payments to preserve their assets.

             43.        Section 361(2) of the Bankruptcy Code expressly provides that the granting of a

replacement lien constitutes a means of providing adequate protection. 11 U.S.C. § 361(2). Here,

the Debtors request that in addition to the senior liens for the post-petition financing, that the

Lender be granted replacement liens in the post-petition Collateral to the extent of diminution in

value of the Lenders’ prepetition liens, including in all cash received post-petition, inventory and

accounts receivable, to the same extent and priority as the Lender’s respective pre-petition liens

and security interests. These liens shall not extend to avoidance actions.

                                       Notice of Interim and Final Hearing

             44.        The Debtors shall serve this Motion and any Interim Orders granted with respect

thereto upon: (a) the Office of the United States Trustee; (b) Lenders; (c) the Internal Revenue

Service; (d) the twenty (20) largest unsecured creditors of each Debtor (e) any other creditor

asserting a lien in the assets of the Debtors; (f) any other party who has requested notice in the

Bankruptcy Case (the “Service List”). In light of the nature of the relief requested, the Debtors

submit that no further notice need be given.

             45.        The Debtors request that they be authorized to serve a copy of the signed Interim

Orders authorizing the DIP Financing and the use of the Cash Collateral which order shall set the

time and date for filing objections, by first class mail upon the Service List and all other parties

that have filed appearances in this case or as otherwise directed by this Court, and shall set a

final hearing at least 14 days from the date of the filing of this Motion. The Debtors request that




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the Court consider such notice of the final hearing to be sufficient notice under Bankruptcy Rule

4001.

             WHEREFORE, the Debtors respectfully request that the Court enter the Interim Orders

granting the Motion as follows: (a) granting the relief requested on an interim, emergency basis,

including: (i) authorizing the Debtors use of Cash Collateral, (ii) authorizing the Debtors’ to

obtain DIP Financing from the Lenders; (iii) granting the Lenders senior and replacement liens

as adequate protection, (b) scheduling a final hearing on this Motion, and (c) granting such other

relief deemed just, equitable and proper.

Dated: May 18, 2020                            SAUL EWING ARNSTEIN & LEHR LLP
                                               Proposed Counsel for Debtors and Debtors-in-
                                               Possession
                                               701 Brickell Avenue, 17th Floor
                                               Miami, FL 33131
                                               Telephone: (305) 428-4500
                                               Facsimile: (305) 374-4744

                                               By:    /s/ Aaron S. Applebaum_________
                                                      Carmen Contreras-Martinez
                                                      Florida Bar No. 093475
                                                      Carmen.Contreras-Martinez@saul.com

                                                      -and-

                                                      Stephen B. Ravin (pro hac vice)
                                                      Florida Bar No. 293768 (inactive status)
                                                      Aaron S. Applebaum (pro hac vice)
                                                      1037 Raymond Boulevard
                                                      Suite 1520
                                                      Newark, NJ 07102
                                                      Telephone: (973) 286-6700
                                                      Facsimile: (973) 286-6800
                                                      Stephen.Ravin@saul.com
                                                      Aaron.Applebaum@saul.com




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